Case 3:17-cv-00072-NKM-JCH Document 729-1 Filed 05/20/20 Page 1 of 3 Pageid#:
                                 11011




                   EXHIBIT 1
                                               Case 3:17-cv-00072-NKM-JCH Document 729-1 Filed 05/20/20 Page 2 of 3 Pageid#:
                                                                                11012



From:                                                                                                                                                                     Antony, Nina-Alice <antony@charlottesville.org>
Sent:                                                                                                                                                                     Friday, May 8, 2020 10:01 AM
To:                                                                                                                                                                       Siegel, Joshua
Cc:                                                                                                                                                                       Mills, David
Subject:                                                                                                                                                                  RE: Sines v. Kessler



[External]

Josh:

I talked with Joe about this and he is willing to allow waive the agreement in so far as it allow you to obtain documents
etc from Lunsford and Hill that would not be privileged.

Let me know how I can best help facilitate this.

Nina

From: Siegel, Joshua <jsiegel@cooley.com>
Sent: Thursday, May 7, 2020 4:15 PM
To: Antony, Nina‐Alice <antony@charlottesville.org>
Cc: Mills, David <dmills@cooley.com>
Subject: Sines v. Kessler

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recognize the sender and know the content is safe.**

Hi Nina, to follow up, will the Commonwealth’s Attorney’s Office consent to Fields’s criminal defense lawyers
(Denise Lunsford and John Hill) producing to us the documents they received from your office that were
subject to the Open File Agreement (attached)? Those documents obviously cannot be privileged, and the
protective order in our case allows Lunsford and Hill to designate any documents produced as “Confidential” or
“Highly Confidential” as needed.


Joshua Siegel
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Washington, DC 20004-2400
Direct: +1 202 842 7891 • Fax: +1 202 842 7899
Bio: www.cooley.com/jsiegel • Practice: www.cooley.com/litigation
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                                          11013
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